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for the

Enstern Distriet of New York

Jarnes Casel|a
Pfaim'i{]`
v.
Ne|net, lnc and Trans Union LLQ
Defendont

Civil Action No. 2:18-cv-00311

WAIVER OF THE SERVICE OF SUMMONS

To: Adam G. Singer
(Name afrlte plaintiffs attorney or unrepresented pittmth

i have received your request to waive service ofa summons in this action along with a copy of the complaint.
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

i, or the entity l represent, agree to save the expense of sewing a summons and complaint in this case.

l understand that l, or the entity l represent, will keep all defenses or objections to the iawsuit, the court's
jurisdiction, and the venue of the action, but that l waive any objections to the absence of a summons or of service.

l also understand that l, or the entity l represent, must lite and serve a_n answer or a motion under Rule l2 within
60 days from January 17, 2018 , the date when this request was sent (or 90 days if it was sent outside the
United States). lf l fail to do so, a defauitjudgment will be entered against me or the entity l represent.

Date: Februa[y 6, 2018 %i%>

Signattrre aft/te attorney or unrepresented parg'

Trans Union, LLC Wi||iam Nl. Huse

Prt’m'ed name afparry waiving service of summons Printed name

 

 

Schuckit & Assoclates, P.C.
4545 Northwestern Drive. Zionsvi||e, |N 46077
ziddre.rs

whase@schuckit|aw.com
E~mal.l address

317-363-2400

Tc{ephone number

 

Duty to Avoid Unnecmary Expenscs afServIng n Summnns

Rttle 4 of the Federal Rules ol'Civil l‘rocedurc re uires certain defendants to cooperate in saving unnecessary expenses of serving n summons
and complainl. A defendant who is located in the United tntes and who fails to retum a signed waiver of service requested by a plaintiff located m
the United States will be required to pay the expenses of serviee, unless the defendant shows good cause for the failure

"Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue. or that the court has
no jurisdiction over this matter or over the defendant or the dcfcndant‘s property.

if the waiver is signed and rctumed, you can still make these and all other defenses and objections but you cannot object to the absence of
a summons or of servicc.

ll`you waive service, then you must, within the time specified on the waiver fonn, serve nn answer or a motion under Ru|e ll on the plaintiff
and tile a copy with the court. By signing and returning the waiver forrn, you are allowed more time lo respond than tfa summons had been served

